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UNITED STATES OF AMERICA

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,          )   CR. NO. 22-00060 LEK
                                   )
                 Plaintiff,        )   AMENDED ORDER GRANTING
                                   )   DEFENDANT GWYNN DARLE
      vs.                          )   MORRISON’S MOTION TO
                                   )   CONTINUE TRIAL AND
WALTER GLENN PRIMROSE, (01)        )   EXCLUDING TIME UNDER THE
  aka, “Bobby Edward Fort”         )   SPEEDY TRIAL ACT
                                   )
GWYNN DARLE MORRISON, (02)         )
  aka, “Julie Lyn Montague”        )
                                   )
                 Defendants.       )
                                   )


    AMENDED ORDER GRANTING DEFENDANT GWYNN DARLE
 MORRISON’S MOTION TO CONTINUE TRIAL DATE AND EXCLUDING
             TIME UNDER THE SPEEDY TRIAL ACT
      Trial in this matter is currently set for April 17, 2023. On February 7, 2023,

the Defendant Gwynn Darle Morrison filed her Motion to Continue Trial due to the

unavailability of her counsel that week. On February 21, 2023, this Court held a

status conference on Defendant Gwynn Darle Morrison’s motion by video

teleconference. Walter J. Rodby appeared for Defendant Walter Glenn Primrose

and Megan K. Kau appeared for Defendant Gwynn Darle Morrison – Defendants

Walter Primrose and Gwynn Morrison appeared by video from the Honolulu

Federal Detention Center. The United States appeared by Assistant U.S. Attorney

Thomas Muehleck. Defendant Walter Primrose and his counsel met privately to

discuss Defendant Morrison’s request. Mr. Rodby advised the Court that he

initially was free to try the case on May 15, 2023, the date proposed by counsel for

Defendant Morrison, but now, he was not free for trial on that date and that,

additionally, Defendant Primrose does object to a continuance of the April 17,

2023, trial date. The United States had previously filed a response to Defendant

Morrison’s request to continue trial, voicing no opposition to Defendant

Morrison’s request to continue as long as a severance did not result. The Court

and the parties discussed other potential dates.

      The Court made oral findings of fact at the hearing and those findings are

incorporated in this order. The Court grants Defendant Gwynn Darle Morrison’s

motion to continue the trial date from April 17, 2023, to May 22, 2023.


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      The Court finds that Megan K. Kau, counsel for Defendant Morrison is

unavailable for trial on April 17, 2023, and the Court further finds that the ends of

justice require a continuance of the trial date from April 17, 2023, to May 22,

2023, because of Ms. Kau’s unavailability, and notes her representation of

Defendant Morrison since the inception of this matter. The Court finds that

failure to grant the continuance would unreasonably deny Defendant

Morrison continuity of counsel.

      The Court also finds that the ends of justice served by the continuance

outweigh the best interests of the Defendants and the public in a speedy trial, and

that the period of time from April 17, 2023, to and including May 22, 2023,

constitutes a period of delay which shall be excluded in computing the time within

which the trial in this case must commence pursuant to the Speedy Trial Act, 18

U.S.C. § 3161(h)(6), (7)(A) and (B)(iv).

      IT IS SO ORDERED.

      DATED:       April 3, 2023, at Honolulu, Hawaii.




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